      8:05-cr-00212-LSC-FG3     Doc # 6       Filed: 06/02/05   Page 1 of 1 - Page ID # 9




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )             8:05CR212
               Plaintiff,                 )
                                          )
vs.                                       )               ORDER
                                          )
ALICE BUCKLER,                            )
                                          )
           Defendant.                     )

 The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-
named defendant in support of a request for appointed counsel. After a review of the
Financial Affidavit, I find that the above-named defendant is eligible for appointment of
counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal
Justice Act Plan for the District of Nebraska.

 IT IS ORDERED that Beau G. Finley is appointed as attorney of record for the above-
named defendant.

 IT IS FURTHER ORDERED that the Federal Public Defender's Office shall forthwith
provide counsel with a draft appointment order (CJA Form 20) bearing the name and
other identifying information of the CJA Panel attorney identified in accordance with the
Criminal Justice Act Plan for this district.

 IT IS FURTHER ORDERED that counsel's appointment herein is made pursuant to 18
U.S.C. §3006A(f). At the time of the entry of judgment herein, defendant shall file a
current and complete financial statement to aid the court in determining whether any
portion of counsel's fees and expenses should be reimbursed by defendant.

 IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
Federal Public Defender and Mr. Finley.

DATED this 2nd day of June, 2005.

                                   BY THE COURT:


                                   s/ F. A. Gossett
                                   United States Magistrate Judge
